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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


                                                                         CASE NO. _____________________

      IN RE :

      APPLICATION OF
      SALVATORE ROCCO NISI

      Applicant.
      _____________________________________/

                      APPLICATION FOR DISCOVERY ASSISTANCE
                 PURSUANT TO 28 U.S.C. § 1782 AND MEMORANDUM OF LAW

           Applicant, Salvatore Rocco Nisi (“Mr. Nisi” or the “Applicant”), requests that the Court

  provide discovery assistance with respect to foreign legal proceedings, pursuant to 28 U.S.C. §

  1782 (the “Statute” or “Section 1782”), for the reasons stated below.

                                          FACTUAL BACKGROUND

           1.       The Applicant, Salvatore Rocco Nisi, is the beneficial owner of Weddin Group

  Ltd., an entity organized under the laws of the British Virgin Islands (“Weddin”).1

           2.       Starting in 2015, Weddin held financial assets (the “Financial Assets”) in a

  Panamanian custodial financial institution named PKB Banca Privada (Panamá), S.A. (“PKB”),

  which were managed by a Panamanian financial services company named National Advisors

  Corporation (“NAC”).2

           3.       In a letter dated May 26, 2017, from Luis Alberto Laguna Delgado (“Mr.

  Laguna”), the representative and sole director of Weddin, to NAC, Mr. Laguna requests that

  NAC close Weddin’s account and transfer the Financial Assets presumably from PKB to a Wells


  1
    See Affidavit of Melida Vega (“Vega Affidavit”), a true and correct copy of which is attached as Exhibit 1 to this
  Application, at ¶ 2.
  2
    Vega Affidavit, ¶ 3.


                                                            1
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  Fargo Bank account (the “Wells Fargo Account”) in zip code 33433 owned by RBC Financial

  Group (a.k.a., RBC Fin Group) (“RBC”). The account number of the Wells Fargo Account is

  Redacted        .3,4

             4.      NAC provided Weddin its July 2015 to June 2017 account statement, which

  shows the transfer to the Wells Fargo account on June 5, 2017 at approximately 6:40 pm. 5

             5.      However, Weddin never received the Financial Assets in the Wells Fargo

  Account pursuant to Mr. Laguna’s May 26, 2017 transfer request.

             6.      In or around October 2018, Weddin filed a complaint (the “Proceeding”) with the

  “Superintendencia de Valores,” NAC’s regulatory authority in Panama seeking to (i) sanction

  NAC for its failure to comply with the applicable regulatory standards, and (ii) investigate the

  matter in an effort to determine the location and disposition of the Financial Assets.6

             7.      The Proceeding currently remains pending. However, the Superintendent has

  indicated that it needs more evidence, including documents indicating the disposition of the

  assets.7

             8.      The Applicant further intends to file a separate civil action in Panama very soon

  for damages arising from the facts states above.

             9.      The Applicant requests that the Court provide discovery assistance to be used by

  the Applicant in the Proceedings arising from the misappropriation of the Applicant’s Financial

  Assets managed by NAC.




  3
    Vega Affidavit, ¶ 6.
  4
    See Correspondence to National Advisors Corporation dated May 26, 2017, a true and correct copy of which is
  attached as Exhibit 2 to this Application.
  5
    See Wedding Group Ltd. Account Statement for the Period July 10, 2015 to June 20, 2017, a true and correct copy
  is attached as Exhibit 3 to this Application.
  6
    Vega Affidavit, ¶ 10.
  7
    Vega Affidavit, ¶ 11.


                                                          2
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         10.     The Applicant requests that Wells Fargo, which is located in zip code 33433, be

  directed to provide the discovery described below in support of the Proceedings.

                                             ANALYSIS

         11.     Discovery assistance in aid of foreign proceedings is expressly authorized by 28

  U.S.C. § 1782, which provides that:

                 The district court of the district in which a person resides or is found may
                 order him to give his testimony or statement or to produce a document or
                 other thing for use in a proceeding in a foreign or international tribunal . . .
                 The order may be made . . . upon the application of any interested person
                 and may direct that the testimony or statement be given, or the document or
                 other thing be produced, before a person appointed by the court (emphasis
                 added).

  28 U.S.C. § 1782(a) (emphasis added).

         12.     Section 1782 assistance is appropriate here because: (i) Wells Fargo "resides or is

  found" in this district; (ii) the Applicant is an "interested person"; and (iii) the Proceeding will

  take place before "a foreign or international tribunal." See Intel v. Advanced Micro Devices, 542

  U.S. 241 (2004).

         13.     Wells Fargo is found in the Southern District of Florida because (i) it actively

  registered with the Florida Secretary of States as an “alien business organization” conducting

  business in Florida, and (ii) it in fact conducts business through its branch offices in the State of

  Florida.

         14.     The Applicant is an “interested person” because he is the beneficial owner of the

  Financial Assets.    The Supreme Court of the United Stated held that a complainant who

  “possesses a reasonable interest in obtaining judicial assistance” qualifies as an “interested

  person” within any fair construction of that term. Intel v. Advanced Micro Devices, 542 U.S. 241

  at 256. There can be no doubt that the Applicant in this case “possesses a reasonable interest in

  obtaining judicial assistance.”


                                                   3
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         15.     The Proceeding with the Superintendent constitutes a “foreign or international

  tribunal” because the Superintendent is a first-instance decision maker. The Supreme Court of

  the United States held that the European Commission was a “tribunal” under 28 U.S.C. § 1782

  “when it acted as first-instance decision-maker” in determining whether Intel violated anti-trust

  regulations in the European Union. Intel v. Advanced Micro Devices, 542 U.S. 241 at 257.

  Here, the Superintendent, like the European Commission, is acting as the first-instance decision-

  maker as it investigates NAC to determine whether NAC failed to comply with regulatory

  standards in its handling of the Applicant’s Financial Assets and therefore constitutes a “foreign

  or international tribunal.”

         16.     The Applicant requests that Wells Fargo be directed to provide documents in

  accordance with the Federal Rules of Civil Procedure. The specific discovery that Applicant

  seeks from Wells Fargo is set forth as Exhibit 4 to this Application.

         17.     In light of the foregoing, the Applicant respectfully requests that this request for

  assistance be granted. A proposed order is attached hereto as Exhibit 5 to this Application.

  May 29, 2019                                         Respectfully submitted,

                                                       DLA PIPER LLP (US)

                                                       By: s/ Harout Jack Samra         ..
                                                            Michael A. Silva
                                                            Florida Bar No. 77895
                                                            Harout Jack Samra
                                                            Florida Bar No. 70523
                                                            Harout.Samra@dlapiper.com
                                                            200 S. Biscayne Blvd., Suite 2500
                                                            Miami, FL 33131
                                                            305-423-8500 Telephone
                                                            305-437-8131 Facsimile

                                                             Counsel for Plaintiff
                                                             Salvatore Rocco Nisi




                                                   4
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             Exhibit 1
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


    IN RE:

                                                          Case No.: 1:17-MC-21517-MGC
            APPLICATION OF
            SALVATORE ROCCO NISI

     ___________________;/
                                           AFFIDAVIT OF
                                           MELIDA VEGA

          I, Melida Vega, am more than 21 years of age and have personal knowledge of the facts

   described herein as they have been alleged in a proceeding in Panama.

          1.      I am a Panamanian attorney associated with the law firm Lex International Lawyers

   & Associates. My firm has been engaged by Weddin Group Ltd. ("Weddin") to represent Weddin

   in connection with an ongoing proceeding in Panama.

          2.      Salvatore Rocco Nisi ("Mr. Nisi") is the beneficial owner ofWeddin Group Ltd, a

   company organized under the laws ofthe British Virgin Islands ("Weddin").

          3.      Weddin held financial assets (the "Financial Assets") that were managed by

   National Advisors Corporation ("NAC'').

          4.      Luis Alberto Laguna Delgado ("Mr. Laguna") is a representative and sole director

   ofWeddin.

          5.      Mr. Silva is a representative of Weddin and is currently on the board of directors

   ofNAC.

          6.      On May 26, 2017, Mr. Laguna requested that NAC transfer the Financial Assets to

   Wells Fargo account Redacted owned by RBC Financial Group ("RBC") for credit to Weddin

   account number Redacted. A true and correct copy ofthe May 26, 2017 correspondence is attached

   hereto as Exhibit A.

          7.      However, the account appears to have been closed.

          8.      Weddin has not been able to access the Financial Assets and has never received

   confirmation that it is the beneficial owner ofthe Financial Assets.

          9.      I have been in contact with NAC to request the SWIFT number to trace the transfers

   ofthe Financial Assets. However, NAC has repeatedly refused to provide evidence ofthe transfer

   and has stopped responding to our requests.
                                                  -1-
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          10.     In or around October 2018, Weddin initiated a legal proceeding (the "Proceeding")

   with "Superintendencia de Valores" (the "Superintendent") in Panama to (i) sanction NAC for its

   failure to comply with the applicable regulatory standards, and (ii) investigate the matter in an

   effort to determine the location and disposition of the Financial Assets.

          11.     The Proceeding is ongoing and the Superintendent has requested more evidence

   from Weddin, namely, documentation showing where the Assets were transferred.               This

   administrative proceeding remains open pending the investigation by the Superintendent.

          12.     Weddin intends to file a separate civil action in Panama very soon for damages

   arising from the facts stated above.

          13.     Weddin intends to use the records and documents it is requesting from Wells Fargo

   in this case in the Proceeding and in the contemplated civil action.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.

   Executed in Panama City, Panama, on May 24, 201


                                                 Melida Vega
                                                 Lex International La     ers & Associates




                                                   -2-
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             Exhibit 2
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                                                  Redacted




                  Redacted



                 Redacted

                 Redacted
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                 Exhibit 3
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                                                                                    Address:     National Advisors
                                                                                                 Corporation, Ocean Business
                                                                                                 Plaza, Floor 15th, Suite
                                                                                                 1503, Marbella, Panama
                                                                                                 City, Panama.
                                                                                    Email:       info@nationaladvisors.com.pa
                                                                                                                                                                     *
                                                                                                                                                                                          Entidad regulatla 'f supervisa1fa por la 5MV
                                                                                    Phone:       +507-201-5001                                                       SMV
                                                                                                                                                                     --.:;;:.'.,-:::.:-
                                                                                                                                                                                          Casa de Valores lkencia No.084-01
                                                                                                                                                                                          d'!!l .$ di, abril de 2001
                                                                                    Fax:         +507-201-5001
                                                                                    Redacted
                                                                                     STATEMENT FOR THE PERIOD:
                                                                                     July 10, 2015 - June 20, 2017
                                                                                     YOUR ACCOUNT EXECUTIVE IS:
                                                                                     House Broker                               Account Overview
                                                                                     TOTAL VALUE OF YOUR ACCOUNT:
                                                                                                                                Ending Value (As of June 20, 2017)                                                       USO 0,00
                                                                                     USO 0,00
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                                                                                    Weddin Group LTD.
                                                                                    STATEMENT FOR THE PERIOD:
                                                                                    July 10, 2015 - June 20, 2017
                                                                                    USO 0,00
                                                                                    Holdings
                                                                                                                                                                          Price on                            Current
                                                                                    Security                        ISIN            Qty         Cost                                     P/L                                     To USO
                                                                                                                                                                      June 20, 2017                       Market Value
                                                                                    Total Value                                                                                                                                USO 0,00
                                                                                    Account Movements
                                                                                    Date                     Description                                                                         Debit            Credit        Balance
                                                                                    2015-10-1215:49:00       All in fee 3QT                                                                     866,57                       USO -866,57
                                                                                    2015-10-12 17:36:00      Com.Adm                                                                            250,00                     USD-1.116,57
                                                                                    2015-10-1410:56:00       Buy USD/EUR@1.1271                                                                                 1.116,57       USD-0,00
                                                                                    2016-02-22 11 :51 :00    (Free Delivery In} buy 2724.05 DEBTOPB NT@203.63000000                                0,00                        USD-0,00
                                                                                    2016-02-23 09:55:00      Com Adm                                                                             250,00                      USO -250,00
                                                                                    2016-02-23 09:57:00      Custodian Rights 4QT                                                              2.428,13                    USO -2.678, 13
                                                                                    2016-05-19 16:57:00      MORGAN ST-GB HI YD BD-AHEUR LU0712125052 as of 17. Feb                             818,70                     USO -3.496,83
                                                                                    2016-05-25 10:41 :00     COMISIONES NATIONAL ADVISORS PRIMER TRIMESTRE 2016                                 250,00                     USO -3.746,83
                                                                                    2016-05-26 12:35:00      ALL IN FEE 3QT. AS OF 10/12/2015.                                                                    866,57   USO -2.880,26
                                                                                    2016-05-26 12:36:00      ALL IN FEE 3QT AS OF 10/12/2015.                                                   866,57                     USO -3.746,83
                                                                                    2016-05-26 12:37:00      COMM ADM. AS OF 10/12/2015                                                                           250,00   USO -3.496,83
                                                                                    2016-05-26 12:38:00      COMM ADM. AS OF 10/12/2015                                                          250,00                    USO -3.746,83
                                                                                    2016-05-26 12:38:00      CONVERSION DE SELUEUR BUY/USO AS OF 10/14/2015.                                   1.116,57                    USO -4.863,40
                                                                                    2016-05-26 12:40:00      CONVERSION DE SELUEUR BUY/USO AS OF 10/14/2015.                                                    1.116,57   USO -3.746,83
                                                                                    2016-05-26 12:45:00      GASTO DE MANEJO AS OF 03/04/2016                                                    50,00                     USO -3.796,83
                                                                                    2016-05-2612:52:00       PAYMENT AS OF 03/22/2016.                                                                          5.444,87    USO 1.648,04
                                                                                                             CONVERSION DE EUR/USO @1.11946 - VENTA POR 5,404.52 UNITS -ANN2528E1039 AS OF
                                                                                     2016-05-26 16:33:00                                                                                                        5.913,40   USO 7.561,44
                                                                                                             04/01/2016.
                                                                                     2016-06-30 18:34:00     COMISJONES FIJAS ABRIL MAYO Y JUNIO                                                250,00                     USO 7.311,44
                                                                                     2016-08-01 14:45:00     T-1                                                                                                    4,28   USO 7.315,72
                                                                                    Date                   Description                                                Debit        Credit         Balance
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                                                                                    2016-08-01 14:46:00    T-1                                                         4,28                   USO 7.311,44
                                                                                    2016-09-01 15:39:00    1-2QT 2016                                              5.449,15                   USO 1.862,29
                                                                                    2016-10-12 11 :46:00   ADMINISTRACION 3 QT 2016                                  250,00                   USO 1.612,29
                                                                                    2016-10-13 10:35:00    custoy 3QT 2016                                         5.683,34                  USO -4.071,05
                                                                                    2016-10-28 13:24:00    AJUSTE POR COMISION SEGUN TARIFARIO 2016.               3.422,07                  USO -7.493, 12
                                                                                    2016-12-2311:42:00     4QT 2016                                                4.889, 11                USO -12.382,23
                                                                                    2016-12-2311:47:00     Comision de Administracion                                350,00                 USO -12.732,23
                                                                                    2016-12-2812:09:00     EUR/USD@1.0407                                                       12.859,55      USO 127,32
                                                                                    2016-12-2911:32:00     COMISION OPS EUR/USO                                      127,32                      USO -0,00
                                                                                    2017-01-0614:41:00     (Sell) 2724.05 DEBTOPB NT@214.04000000                              579.916,04   USO 579.916,04
                                                                                    2017-03-07 09:50:00    cargo bandario par trf                                     60,00                 USO 579.856,04
                                                                                    2017-03-07 09:52:00    comision par trf 75*2                                     150,00                 USO 579.706,04
                                                                                    2017-03-07 09:52:00    1QT2017                                                 5.041,82                 USO 574.664,22
                                                                                    2017-03-07 09:53:00    GASTO DE CIERRE DE CUENTA                               3.000,00                 USO 571.664,22
                                                                                    2017-03-10 11:15:00    FONDOS TRANSFERIDOS HIPOTEKARNA BANKA MISMO TITULAR   571.664,22                       USO 0,00
                                                                                    2017-04-21 14:26:00     FONDOS DEVUELTOS.                                                  571.431,42   USO 571.431,42
                                                                                    2017-06-05 18:27:00     COMISION POR TRANSFERENCIA                                75,00                 USO 571.356,42
                                                                                    2017-06-05 18:41:00    TRANSFERENCIA DE FONDOS WELLS FARGO                   571.356,42                       USO 0,00
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                                                                                    Weddin Group LTD.
                                                                                    STATEMENT FOR THE PERIOD:
                                                                                    July 10, 2015 - June 20, 2017
                                                                                                                                                                                                    ~N/\TION/\L...
                                                                                    EUR 0,00
                                                                                    Holdings
                                                                                                                                                                 Price on                       Current
                                                                                    Security                        ISIN                  Qty         Cost                   P/L                                      To USD
                                                                                                                                                             June 20, 2017                  Market Value
                                                                                    Total Value                                                                                                                      USO 0,00
                                                                                    Account Movements
                                                                                    Date                Description                                                                Debit             Credit           Balance
                                                                                    2015-08-12
                                                                                                        Cash Entry                                                                               120.000,00    EUR 120.000,00
                                                                                    12:08:00
                                                                                    2015-09-22
                                                                                                        (deposit) buy 450000.00 XS1069934757@100.00000000                            0,00                      EUR 120.000,00
                                                                                    11:56:00
                                                                                    2015-09-22
                                                                                                        (deposit) buy 7987.22 JP5D GF@15.39000000                                    0,00                      EUR 120.000,00
                                                                                    11:56:00
                                                                                    2015-09-22
                                                                                                        (deposit) buy 3502.00 JPEDSCA LX@34.86000000                                 0,00                      EUR 120.000,00
                                                                                    11:56:00
                                                                                    2015-09-29
                                                                                                        (sell) 7987.00 JP5D GF@14.52210000                                                       114.253,99    EUR 234.253,99
                                                                                    12:03:00
                                                                                    2015-09-29
                                                                                                         (sell) 3502.00 JPEDSCA LX@34.56910000                                                   119.251, 13   EUR 353.505, 12
                                                                                    12:03:00
                                                                                    2015-09-29
                                                                                                         (sell) 0.22 JP5D GF@0.00000000                                                                0,00    EUR 353.505, 12
                                                                                    12:07:00
                                                                                    2015-10-14
                                                                                                         Buy USO/EUR @1.1271                                                       990,66                      EUR 352.514,46
                                                                                     10:57:00
                                                                                    2015-10-20
                                                                                                         (deposit) buy 3064.00 MGHYAHE LX@30.77000000                                0,00                      EUR 352.514,46
                                                                                    10:47:00
                                                                                    2015-11-25
                                                                                                         (deposit) buy 5404.52 ANN2528E1039@200.28000000                             0,00                      EUR 352.514,46
                                                                                     15:31:00
                                                                                    2015-12-15
                                                                                                         (sell) 450000.00 XS1069934757@100.00000000                                             450.000,00     EUR 802.514,46
                                                                                     14:36:00
                                                                                                                                                                                            Debit         Credit            Balance
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                                                                                    Date          Description
                                                                                    2016-01-27
                                                                                                  INTEREST CORP FIN 7.5% XS1069934757                                                                  16.875,00     EUR 819.389,46
                                                                                    14:37:00
                                                                                    2016-02-17
                                                                                                  (sell) 3063.73 MGHYAHE LX@27.96000000                                                                85.098,98     EUR 904.488,44
                                                                                    18:01:00
                                                                                    2016-02-17
                                                                                                  (sell) 0.27 MGHYAHE LX@0.00000000                                                                          0,00    EUR 904.488,44
                                                                                    18:02:00
                                                                                    2016-04-13
                                                                                                  (Sell) 5404.52 ANN2528E1039@205.17000000                                                           1.096.681,33   EUR 2.001.169,77
                                                                                    11:33:00
                                                                                    2016-05-26    CASH ENTRY - ESTABA POSTEADO EN CHS/EURY LE PERTENECE A UOB/EUR AS OF
                                                                                                                                                                                                      120.000,00    EUR 2.121.169,77
                                                                                    12:06:00      08/12/2015.
                                                                                    2016-05-26    CONVERSION POSTEADO POR ERROR EN CHS/EURY LE PERTENECE A UOB/EUR - SELL/EUR -
                                                                                                                                                                                           990,66                   EUR 2.120.179, 11
                                                                                    12:11:00      BUY/USO -AS OF 10/14/2015
                                                                                    2016-05-26
                                                                                                  CASH ENTRY - POSTEADO POR ERROR EN CHS/EURY PERTECE A UOB/EUR - AS OF 08/12/2015.    120.000,00                   EUR 2.000.179, 11
                                                                                     12:19:00
                                                                                    2016-05-26    CONVERSION DE SELL/EUR-BUY/USO @1.1271 - POSTEADO POR ERROR EN CHS/EURY
                                                                                                                                                                                                          990,66    EUR 2.001.169, 77
                                                                                     12:20:00     PERTENECE A UOB/EUR - AS OF 10/14/2015.
                                                                                     2016-05-26
                                                                                                  TRANSFER ORDER BY CLIENT - AS OF 03/04/2016.                                         700.000,00                   EUR 1.301.169,77
                                                                                     12:23:00
                                                                                     2016-05-26
                                                                                                  RETORNO DE CASH AS OF 03/09/016.                                                                    698.225,00    EUR 1.999.394,77
                                                                                     12:24:00
                                                                                     2016-05-26
                                                                                                  PAYMENTS AS OF 03/22/2016.                                                                             2.949,00   EUR 2.002.343,77
                                                                                     12:26:00
                                                                                     2016-05-26   CONVERSION OE EUR/USO @1.11946 - VENTA POR 5,404.52 UNITS -ANN2528E1039 AS OF
                                                                                                                                                                                          6.619,81                  EUR 1.995.723,96
                                                                                     16:31:00     04/01/2016.
                                                                                     2016-08-01
                                                                                                  T-1                                                                                  121.958,34                   EUR 1.873.765,62
                                                                                     14:47:00
                                                                                     2016-08-01
                                                                                                  T-1                                                                                                 121.958,34    EUR 1.995.723,96
                                                                                     14:48:00
                                                                                     2016-08-01
                                                                                                  ADJ                                                                                  700.045,47                   EUR 1.295.678,49
                                                                                     15:51:00
                                                                                     2016-08-01
                                                                                                  ADJ                                                                                       45,67                   EUR 1.295.632,82
                                                                                     15:54:00
                                                                                     2016-12-28
                                                                                                  EUR/US0@1.0407                                                                        12.356,64                   EUR 1.283.276, 18
                                                                                      11:12:00
                                                                                     2017-03-02
                                                                                                  TRANSFERENCIA ECENTOS INC                                                                           200.000,00    EUR 1.483.276, 18
                                                                                      11 :12:00
                                                                                     2017-03-07
                                                                                                  cargo bancario por trf                                                                     60,00                  EUR 1.483.216,18
                                                                                      09:50:00
                                                                                     2017-03-10
                                                                                                   FON DOS TRANSFERIDOS HIPOTEKARNA BANKA MISMO TITULAR                               1.483.216,18                          EUR 0,00
                                                                                      11:13:00
                                                                                     2017-03-30
                                                                                                  TRANSFERENCIA DEVUELTA                                                                              782.614,32     EUR 782.614,32
                                                                                      11:13:00
                                                                                     2017-03-30
                                                                                                   TRANSFERENCIA DEVUELTA                                                                             699.397,57    EUR 1.482.011,89
                                                                                      11:31:00
                                                                                    Date                  Description                                 Debit    Credit   Balance
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                                                                                    2017-06-05 18:42:00   TRANSFERENCIA DE FONDOS WELLS FARGO   1.482.011,89            EUR 0,00
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                                                                                    Weddin Group LTD.
                                                                                    STATEMENT FOR THE PERIOD:
                                                                                    July 10, 2015- June 20, 2017
                                                                                    Fx Information
                                                                                    Pair                                     Rate
                                                                                    USO/CAD                            1.32200000
                                                                                    CAD/USO                            0.75640000
                                                                                    USO/AUD                            1.31590000
                                                                                    AUD/USO                            0.75990000
                                                                                    USD/NOK                            8.50330000
                                                                                    NOK/USD                            0.11760000
                                                                                    USD/CHF                            0.97550000
                                                                                    CHF/USD                            1.02510000
                                                                                    USD/JPY                          111.56900000
                                                                                    JPY/USD                            0.00900000
                                                                                    USD/GBP                            0.78510000
                                                                                    GBP/USD                            1.27370000
                                                                                    USD/XAU                            0.00080000
                                                                                    XAU/USD                        1,246. 69930000
                                                                                    USO/EUR                            0.89660000
                                                                                    EUR/USO                            1.11530000
                                                                                    USO/ZAR                           12.96990000
                                                                                    ZAR/USO                            0.07710000
                                                                                    BRUUSD                             0.30470000
                                                                                    USD/BRL                            3.28170000
                                                                                    USO/TRY                            3.52170000
                                                                                    TRY/USO                            0.28400000
                                                                                    RUB/USO                            0.01710000
                                                                                     USO/RUB                          58.39900000
                                                                                     PHP/USD                           0.02000000
                                                                                     USD/PHP                          50. 05000000
                                                                                    AED/USD                            0.27230000
                                                                                     USD/AED                           3.67280000
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                                                                                    Weddin Group LTD.
                                                                                    STATEMENT FOR THE PERIOD:
                                                                                    July 10, 2015 - June 20, 2017
                                                                                    Footnotes and Cost Basis Information
                                                                                    CHANGE IN VALUE OF YOUR PORTFOLIO es the change in market value of your portfolio assets over the time period shown. The portfolio assets include the market value of all the
                                                                                    securities in the account, plus insurance and annuity assets if applicable.
                                                                                    CHANGE IN INVESTMENT VALUE is the difference between the prior period and current period values which includes the difference between securities that were bought, sold and redeemed
                                                                                    during this time period as well as any activity that ocurred such as additions and withdrawals, securities transferred, income, expense, and other activity. This does not reflect activity related to
                                                                                    assets in which National Advisors Corporation is not the custodian (e.g. insurance and Annuities, Assets Held Away and Other Assets Held Away.)
                                                                                    CALLABLE SECURITIES LOTTERY - When street name or bearer securities held for you are subject to a partial call or partial redemption by the issuer, NAC may or may not receive an
                                                                                    allocation of called/redeemed securities by the issuer, transfer agent and/or depository. If NAC is allocated a portion of the called/redeemed securities, NAC utilizes an impartial lottery
                                                                                    allocation system, in accordance with applicable rules, that randomly selects the securities within customer accounts that will be called/redeemed NAC allocations are not made on a pro rata
                                                                                    basis and it ispossible for you to receive a full or partial allocation, or no allocation. You have the right to withdraw uncalled fullyy paid securities at any time prior to the cutoff date and time
                                                                                    established by the issuer, transfer agent and/or depository with respect to the partial call, and also to withdraw excess margin securities provided your account is not subject to restriction
                                                                                    under Regulation Tor such withdrawal will not cause an undermargined condition.
                                                                                    PRICING INFORMATION - Prices displayed are obtained from sources that may include pricing vendors, broker/dealers who clear through NAC and/or other sources. Prices may not reflect
                                                                                    current fair market value and/or may not be readily marketable or redeemable at the prices shown.
                                                                                    FOREIGN EXCHANGE TRANSACTIONS - Some transaction types necessitatte a foreign currency exchange (FX) in order to settle FX transactions may be affected by Fidelity Forex Inc on a
                                                                                    principal basis Fidelity Forex Inc, an affiliate of NAC, may impose a commission or markup on the prevailing interbank market price, which may result in a higher price to you. Fidelity Forex,
                                                                                    Inc may share a portion of any FX commission or markup with NAC. More favorable rates may be available through third parties not affiliated with NAC. The rate applicable to any transaction
                                                                                    involving an FX is available upon request through your broker-dealer.
                                                                                    COST BASIS LEGISLATION - New IRS Rules will require National Advisors Corporation to report basis and holding p~riod information for the sale of shares of open end Mutual Fund
                                                                                    holdings purchased on or after January 1, 2012 on Form 1099-B. National Advisors Corporation determines the cost basis for all shares of open end mutual funds using a default method of
                                                                                    average cost. Alternatively, account owners or their brokers and advisors can instruct National Advisors Corporation to determine the cost basis for shares of open end mutual funds by 1)
                                                                                    setting up their non-retirement accounts with one of our eleven tax lot disposal methods available to investors or 2) identifying specific tax lots to sell at the time of a transaction. Contact your
                                                                                    broker or advisor to learn more about the cost basis tracking of your holdings.
                                                                                    GLOSSARY - Shor Account Balances- If you have sold securities under the short sale rule, we have, in accordance with regulations, segregated the proceeds from such transactions in your
                                                                                    Short Account. Any market increases or decreases from the original sale price will be marked to the market and will be transferred to your Margin Account on a weekly basis. Market Value -
                                                                                    The total Market value has been calculated out to 9 decimal places, however the individual unit price is displayed in 5 decimal places. The total Market Value represents prices obtained from
                                                                                    various sources, may be impacted by the frequency in which such prices are reported and such prices are not guaranteed. Prices received from pricing vendors are generally based on current
                                                                                    market quotes, but whn such quotes are not available the pricing vendors use a variety of techniques to estimate value, these estimates, particularly for fixed income securities, may be based
                                                                                    on certain minimum principal amounts (e.g. $1 million) and may reflect all of the factors that affect the value of the security, including liquidity risk. The prices provided are not firm bids or
                                                                                    offers. Certain securities may reflect "N/A" or "unavailable" where the price for such security is generally not available from a pricing source. The Market Value of a security, including those
                                                                                    priced at par value, may differ from its purchase price and may not closely reflect the value at which the security may be sold or purcahsed based on various market factors investment
                                                                                    decisions should be made only after consulting your broker/dealer. Estimated Yield ("EY") and Esimated Annual Income ("EAi") When available, the coupon rate of some fixed income
                                                                                    securities is divided by the current market value of the fixed income security to create the "EY" figure and/or the current interest rate or estimates, and the incomeand yield might by lower or
                                                                                    higher. Additionally, estimates may include return of principal or capital gains which would render them overstated. "EY" reflects only the income generated by an investment, not changes in
                                                                                    prices which fluctuate. These figures are based on mathematical calculations of available data, and have been obtained from information providers belived to be reliable, but no assurance can
                                                                                    be made as to accuracy. Since the interest and dividend rates are subject to change at any time, and may be affected by current and future economic, political and business conditions, they
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                                                                                    should not be relied on for making investment, trading decisions, or tax decisions.
                                                                                    CUSTOMER SERVICE - Please review your statement and report any discrepancies immediately, inquiries or concerns regarding your brokerage account or the activity therein should be
                                                                                    directed to your broker/dealer at the telephone number and address reflected on the front of this statement and National Advisors Corporation ("NAC"} who carries your brokerage account
                                                                                    and acts as your custodian for funds and securities deposited with NAC directly by you, through your broker/dealer, or as result of transactions NAC processes for your account NAC may be
                                                                                    contacted by calling 507-201-5552. Any oral communications regarding inaccuracies or discrepancies should be reconfirmed in writing to protect your rights, including those under the
                                                                                    Securities Investor Protection Act ("SIPA"). When contacting either NAC or your broker/dealer, remember to include your entire brokerage account number to ensure a prompt reply. Please
                                                                                    notify the service center or your broker/dealer promptly in writing of any change of address.
                                                                                    ADDITIONAL INFORMATION - Customer free credit balances are not segregated and may be used in NAC business, subject to the limitations of 17CFR Section 240 15C3-2 under the
                                                                                    Securities and Exchange Act of 1934. You have the right to receive from NAC in the course of normal business operations, subject to open commitments in any of your brokerage accounts,
                                                                                    any free credit balances to which you are entitled or any fully paid securities to which you are entitled and any securities purchased on margin upon full payment of any indebtedness to NAG.
                                                                                    Interest on free credit balances awaiting reinvestment may be paid out at rates that may vary with current short-term money market rates and/or your brokerage account balances, set at the
                                                                                    discretion of your broker/dealer and/or NAC.
                                                                                    Credit Adjustment Program - Accountholders receiving payments in lieu of qualified dividends may not be eligible to receive credit adjustments intended to help cover additional associated
                                                                                    federal tax burdens. NAC reserves the right to deny the adjustment to any accountholder and to amend or terminate the credit adjustment program.
                                                                                    Options Customers. Each transaction confirmation previously delivered to you contains full information about commissions and other charges. It you require further information, please contact
                                                                                    your broker/dealer:
                                                                                    Assignments of American and European-style options are allocated among customer short positions pursuant to a random allocation procedure, a description of which is available upon
                                                                                    request. Short positions in American-style options are liable for assignment at any time The writer of a European-style option rs subject to exercise assignment only during the exercise period
                                                                                    You should advise your broker/dealer promptly of any material change in your investment objectives or financial situation Splits, Dividends, and Interest, Expected stock split, next dividend
                                                                                    payable, and next interest payable information has been provided by third parties and may be subject to change Information for certain securities may be missing if not received from third
                                                                                    parties in time for printing NAC is not responsible for inaccurate, incomplete, or missmg information.
                                                                                     Please consult your broker/dealer for more information about expected stock split, next dividend payable, and next interest payable for certain securities Equity Dividend Reinvestment
                                                                                     Customers. Shares credited to your brokerage account resulted from transactions effected as agent by either 1} Your broker/dealer for your investment account, or 2) through the Depository
                                                                                     Trust Company (OTC) dividend reinvestment program For broker/dealer effected transactions, the time of the transactions, the exchange upon which these transactions occurred and the
                                                                                     name of the person from whom the security was purchased will be furnished upon written request NAC may have acted as market maker in affecting trades in over-the-counter securities.
                                                                                     Retirement Contributions/Distributions, A summary of retirement contributions/distributions is displayed for you in the activity summary section of your statement Income Reporting. NAC
                                                                                     reports earnings from investments rn Traditional IRAs, Rollover IRAs, SEP-IRAs and, Keoghs as tax-deferred income Earnings from Roth IRAs are reported as tax-free income, since
                                                                                     distributions may be tax-free after meeting the 5 year aging requirement and certain other conditions. A financial statement of NAC is avaliable for your personal inspection at its office or a
                                                                                     copy ol at will be mailed to you upon your written request Statement Mailing. NAC will deliver statements by mail or, if applicable, notify you by email of your statements availability, if you had
                                                                                     transactions that affected your cash balances or security positions held in your accounts) during the last monthly reporting period. At a minimum, all brokerage customers will receive quarterly
                                                                                     statements (at least four times per calendar year) as long as their accounts contain a cash or securities balance.
                                                                                     Loads and Fee - In addition to sales loads and 12b-1 fees described in the prospectus, NAC or your broker/dealer receives other compensation in connection with the purchase and/or the on-
                                                                                     going maintenance of positions in certain mutual fund shares and other investment products in your brokerage account. Thus additional compensation may be paid by the mutual fund or other
                                                                                     investment product, its investment advisor or one of its affiliates Additional anformatron about the source(s} and amount(s} of compensation as well as other remuneration received by NAC or
                                                                                     your broker/dealer will be furnished to you upon written request. At time of purchase, fund shares may be assigned a transaction fee or no transaction fee status. At time of sale applicable
                                                                                     fees will be based on that status.
                                                                                     Margin. If you have applied for margin privileges and been approved, you may borrow money from NAC in exchange for pledging the assets on your account as collateral for any outstanding
                                                                                     margin loan. The amount you may borrow as based on the value of securities in your margin account, which as identified on your statement. If you have a margin account, thus as a combined
                                                                                     statement at your margin account and special memorandum account other than your non-purpose margin accounts maintained for you under Section 2.c of Regulation T issued by the Board
                                                                                     of Governors of the Federal Reserve Board The permanent record of the separate account, as required by Regulation T, is available for your Inspection upon request NYSE and FINRA. All
                                                                                     transactions are subject to the constitution, rules, regulations, customs, usages, rulings and interpretations of the exchange market and its clearing house, af any, where the transactions are
                                                                                     executed, and of the New York Stock Exchange (NYSE) and of the Financial industry Regulatory Authority ("FINRA"} The FINRA requires that we notify you in writing of the avaalabalaty of an
                                                                                    investor brochure that ancludes information describing FINRA Regulaions BrokerCheck Program ("Program") To obtain a brochure or more lnfomation about the Program or FINRA
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                                                                                    Regulation, contact the FINRA Regulation BrokerCheck Program Hotline at (800) 2899999 or access the FINRAs web site at www finra org.
                                                                                    FINRA Rule 4311 requires that your broker/dealer and NAC allocate between them certain functions regarding the administration of your brokerage account The following is a summary of the
                                                                                    allocation services performed by your broker/dealer and NAC A more complete description is available upon request.
                                                                                    Your broker/dealer is responsible for (1) obtaining and verifying brokerage account information and documentation, (2) opening, approving and monitoring your brokerage account, (3)
                                                                                    transmiting timely and accurate orders and other instructions to NAC with respect to your brokerage. account, (4) determining the suitabality of investment recommendations and advice, (5)
                                                                                    operating, and supervising your brokerage account and its own activities in compliance with applicable laws and regulations including compliance with margin rules pertaining to your margin
                                                                                    account, if applacable, and (6) maintaining required books and records for the services that it performs NAC shalt, at the direction of your broker/dealer (1) execute, clear and settle
                                                                                    transactions processed through NAC by your broker/dealer, (2) prepare and send transaction confirmations and periodic statements of your brokerage account (unless your broker/dealer has
                                                                                    undertaken to do so) Certain securities pricing and descriptive information may be provided by your broker/dealer or obtained from third parties deemed to be reliable, however, this
                                                                                     information has not been verified by NAC, (3) act as custodian for funds and securities received by NAC on your behalf, (4) follow the instructions of your broker/dealer with respect to
                                                                                    transactions and the receipt and delivery of funds and securities for your brokerage account, and (5) extend margin credit for purchasing or carrying securities on margin Your broker/dealer as
                                                                                     responsible for ensuring that your brokerage account is in compliance with federal, industry and NAC margan rules, and for advising you of margin requirements.
                                                                                    NAC shall maintain the requared books and records for the services it performs.
                                                                                    Securities in accounts carried by NAC are protected in accordance with the Securities Investor Protection Corporation ("SIPC") up to $500,000 For claims filed on or after July 22, 2010, the
                                                                                    $500,000 total amount of SIPC protection is inclusive of up to $250,000 protection for claims for cash, subject to periodic adjustments for inflation in accordance with terms of the SIPC statute
                                                                                    and approval by SI PCs Board of Directors. NAC also has arranged for coverage above these limits. Neither coverage protects against a decline in the market value of securities, nor does
                                                                                    either coverage extend to certain securities that are considered ineligible for coverage.
                                                                                     For more details on SIPC, or to request a SIPC brochure, visit www.aipc.orp or call 1-202-371-8300.
                                                                                     Funds used to purchase or sweep to a bank deposit are SIPC protected until deposited to a Program Bank at which time funds may be eligable for FDIC insurance. Assets Held Away,
                                                                                     commodaties, unregistered investment contracts, futures accounts, loaned securities and other investments may not be covered. Mutual funds and/or other securities are not backed or
                                                                                     guaranteed by any bank, nor are they insured by the FDIC and involve investment risk including possible loss of principal. End of Statement
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              Exhibit 4
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                                DOCUMENTS TO BE PRODUCED

          The Applicant requests that Wells Fargo Bank, N.A. (“Wells Fargo”) be directed to

   provide the Applicant with the following documents or responses within 21 days of the Court's

   order granting discovery assistance:

          1.      Monthly or periodic statements for the time period between March 2016 and the

   present for account number Redacted     held at Wells Fargo.

          2.      Monthly or periodic statements for the time period between March 2016 and the

   present for accounts for RBC Financial Group held at Wells Fargo.

          3.      Monthly or periodic statements for the time period between March 2016 and the

   present for accounts of Weddin Group Ltd. held at Wells Fargo.

          4.      Monthly or periodic statements for the time period between March 2016 and the

   present for accounts of National Advisors Corporation held at Wells Fargo.

          5.      Any and all communications from Wells Fargo transmitting the account

   statements requested in Document Request No. 1-4.

          6.      Documents indicating and/or reflecting account numbers for accounts held at

   Wells Fargo by RBC Financial Group, Weddin Group Ltd., and National Advisors Corporation.

          7.      Documents indicating and/or reflecting account numbers for accounts held at

   Wells Fargo by National Advisors Corporation.
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              Exhibit 5
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


                                                              CASE NO. _____________________

    IN RE :

    APPLICATION OF
    SALVATORE ROCCO NISI

    Applicant.
    _____________________________________/

                         PROPOSED ORDER GRANTING APPLICATION
                              FOR DISCOVERY ASSISTANCE


          THIS MATTER came before the Court pursuant to an Application for Discovery

   Assistance with Respect to Foreign Legal Proceedings (the "Application") by Salvatore Rocco

   Nisi (“Mr. Nisi” or “Applicant”) from Wells Fargo Bank, N.A. (“Wells Fargo”), pursuant to 28

   U.S.C. § 1782.

          Upon review of the application, Applicant’s incorporated memorandum, and the legal

   authorities associated with 28 U.S.C. § 1782, and being apprised of all pertinent matters, it is

   hereby ORDERED and ADJUDGED that:

          1.        The Applicant’s Application is GRANTED.

          2.        Wells Fargo shall within 21 days of the service of this order produce the

   following documents (or materials) to the Applicant:

               a.   Monthly or periodic statements for the time period between March 2016 and the

                    present for account number Redacted    held at Wells Fargo.

               b. Monthly or periodic statements for the time period between March 2016 and the

                    present for accounts for RBC Financial Group held at Wells Fargo.
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                c. Monthly or periodic statements for the time period between March 2016 and the

                   present for accounts of Weddin Group Ltd. held at Wells Fargo.

                d. Monthly or periodic statements for the time period between March 2016 and the

                   present for accounts of National Advisors Corporation held at Wells Fargo.

                e. Any and all communications from Wells Fargo transmitting the account

                   statements requested in Document Request No. 1-4.

                f. Documents indicating and/or reflecting account numbers for accounts held at

                   Wells Fargo by RBC Financial Group, Weddin Group Ltd.,             and National

                   Advisors Corporation.

                g. Documents indicating and/or reflecting account numbers for accounts held at

                   Wells Fargo by National Advisors Corporation.

           3.      The Court shall retain jurisdiction over this matter for me purpose of enforcing

   this order and assessing any supplemental requests for discovery assistance that may be

   requested by Applicant.

           DONE and ORDERED, in Chambers, in Dade County, Florida, this __ day of _____,

   2019.



                                                  ______________________________________
                                                   UNITED STATES DISTRICT JUDGE


   Copies furnished to:
   All Counsel of Record
